        Case 1:03-cr-02072-JB           Document 193         Filed 09/23/05      Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

                Plaintiff,

vs.                                                                             No. CR 03-2072 JB

ANTONIUS MARIA HEIJNEN,

                Defendant.

                             MEMORANDUM OPINION AND ORDER

        THIS MATTER comes before the Court on the United States’Motion to Strike Defendant

Heijnen’s Response to Presentence Report, Or, in the Alternative, Memorandum in Support of

Presentence Report, filed August 1, 2005 (Doc. 82). The primary issue is whether the Court should

decline to consider Defendant Antonio Marie Heijnen’s objection to the presentence report. Because

Heijnen is proceeding pro se, and it is preferable to decide his concerns on the merits if possible, the

Court will deny the United States’ motion to strike and treat the United States’ motion as a

sentencing memorandum.

                                PROCEDURAL BACKGROUND

        On July 26, 2005, Heijnen filed his Response to Presentence Report (Doc. 181) ex parte.

Accordingly, Heijnen did not provide a copy of his objection to the United States. In his “Response

to Presentence Report, Part 1 of 3,” under the subheading “Certificate of Service,” Heijnen concedes

that he did not make service upon the United States.

                                           RULE 32(f)(2)

        Rule 32(f)(2) of the Federal Rules of Criminal Procedure provides that a party making

objections to a Presentence Report “must provide a copy” of his objections to the United States.
        Case 1:03-cr-02072-JB           Document 193         Filed 09/23/05       Page 2 of 3




                                             ANALYSIS

        Heijnen argues that he does not need to serve the United States because no one has shown

to his satisfaction that the United States Attorney’s Office is authorized to represent the United States

of America. Heijnen thus repeats an argument that he has made consistently in the course of this

case. In particular, Heijnen raised this argument in a pretrial motion to dismiss. See Defendant’s

Third Motion to Dismiss for Default by Plaintiff and Fraud Resulting in Lack of Jurisdiction, filed July

25, 2005 (Doc. 67).

        The Court held a hearing on this motion on January 31, 2005. The Court ruled from the

bench. The Court, in substance, held that the United States Attorney for the District of New Mexico

represented the United States of America in this action. The Court entered an Order to reflect this

ruling on February 16, 2005. See (Doc. 91).

        Because the Court has ruled adversely on Heijnen’s argument, Heijnen need not raise the same

argument before he appeals the judgment in this case. Heijnen has preserved this issue for appeal,

and no doubt will seek to raise it before the United States Court of Appeals for the Tenth Circuit.

He need not raise it again before the trial court. And Heijnen should not ignore the Court’s ruling

that the United States Attorney is his opposing party’s counsel.

        Heijnen’s ex parte filing violates the Federal Rules of Criminal Procedure. Nonetheless, now

that the Court has disclosed it to the United States, there is no prejudice to the United States.

Accordingly, the Court will deny the United States’request that it strike Heijnen’s response to the

Presentence Report. Instead, the Court will treat the United States’ motion as a sentencing

memorandum and consider it with Heijnen’s objection.

        IT IS ORDERED that the United States’Motion to Strike Defendant Heijnen’s Response


                                                  -2-
        Case 1:03-cr-02072-JB           Document 193    Filed 09/23/05     Page 3 of 3




to Presentence Report, Or, in the Alternative, Memorandum in Support of Presentence Report, is

denied in part and granted in part. The Court will deny the United States’ request to strike the

Defendant’s Response. The Court will grant the United States’ request that the Court treat the

United States’motion as a sentencing memorandum and consider it as a response to the Defendant’s

objections to the Presentence Report.

                                                     ___________________________________
                                                     UNITED STATES DISTRICT JUDGE

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